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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


HUDSON EFT, LLC, C/O AZIMUTH
DEVELOPMENT GROUP LLC,
                                                                       20 Civ. 8603 (PAE)
                                       Plaintiff,
                        -v-                                                  ORDER

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,

                                       Defendant.


PAUL A. ENGELMAYER, District Judge:

       As discussed at today’s conference, the parties disagree whether the Court should permit

plaintiff Hudson EFT, LLC (“Hudson”) to amend its complaint to join a non-diverse defendant,

Wavecrest Management Team, Ltd. (“Wavecrest”), in this action, which would destroy the

Court’s subject-matter jurisdiction. See 28 U.S.C. § 1447(e). Construing Hudson’s pending

motion to remand this matter to state court, see Dkt. 10, as a motion seeking leave to amend its

complaint to add that non-diverse party, the Court hereby orders as follows:

       Defendant Westchester Surplus Lines Insurance Company (“Westchester”) shall file, by

Wednesday, October 28, 2020, a letter not to exceed three single-spaced pages, opposing Hudson’s

motion for leave to join Wavecrest. Hudson shall file, by Wednesday, November 4, 2020, a

letter-brief, also not to exceed three single-spaced pages, in response to Westchester’s opposition.

       SO ORDERED.

                                                     PaJA.�
                                                     ____________________________________
                                                     Paul A. Engelmayer
                                                     United States District Judge

Dated: October 21, 2020
       New York, New York
